Case:lS-OO€l?-svvd Doc #:8 Filed: 02/22/18 Page 1 of 2

UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

In re: Hon. Scott W. Dales
JOHN SCOTT PALMER, III, Case No. 18-00617-swd
Debtor. Chapter 7

 

TRUSTEE'S MOTION TO ALLOW REAL PROPERTY TO STAND UNINSURED
Chapter 7 Trustee Scott A. Chemich ("Trustee") moves this Court for entry of an Order
Allowing the Real Property to Stand Uninsured, and in support thereof, states as follows:
1. Debtor John Scott Palmer, III ("Debtor") filed f`or relief under Chapter 7 of the
Bankruptcy Code on February 20, 2018.
2. The first meeting of` creditors is scheduled for April 20, 2018. Scott A. Chemich
is presently acting as the interim Chapter 7.
3. The Debtor lists an interest in real estate located in the Township of` Ovid, County
of Clinton, and State of Michigan, legally described as:
Situated in the Township of Ovid, Clinton County, Michigan, more particularly described
as follows: All land lying South of stream running East and West of the following:
Commencing at the Northeast comer of the North % of the Northeast % of Section l 1,
Town7 North, Range l West, Ovid Township, Clinton County, Michigan; thence South

64 rods; West 38 rods; North 64 rods; then east 38 rods to the point of beginning Tax
Parcel # 19-120-011-100-010-00.

Commonly known address: 1821 N. Hollister Road, Ovid, MI 48866 ("Real Property").

4. According to the Schedule A, the Real Property has a fair market value of
$30,000.00.

5. The Real Property is owned by Debtor.

6. The Debtor exempted $27,996.04 of the equity in the Real Property pursuant to

MCL 600.5451(1)(m).

Case:lS-OO€l?-svvd Doc #:8 Filed: 02/22/18 Page 2 of 2

7. The Trustee has not held the first meeting of` creditors, so he has not made a
determination if the Real Property has value to the estate.

8. On February 21, 2018, the Debtor filed an Asset Protection Report ("Report").
According to the Report, there is no insurance on the Real Property.

9. There is no money in the estate to pay insurance premiums on the Real Property.

10. A copy of the Order Granting Trustee's Motion to Allow Real Property to Stand
Uninsured is attached as Exhibit A.

WHEREFORE, the Chapter 7 Trustee respectfully requests that this Honorable Court
enter an order allowing the Real Property to stand uninsured and for such other and further relief
as this Court deems just and proper.

Respectfully submitted:

   

Dated: February 21, 2018 By: /s/ Scott A. emich
Scott A. Chernich (P48893)
Chapter 7 Trustee

313 S. Washington Square
Lansing, MI 48933

(517) 371-8133
schemich@f`osterswift.com

13333:94362:3209361-1

